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UNITED STATES DISTRICT COURT THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

coats! ponthoen District of Ilinois
APPLICATION TO PROCEED

Plaintiff WITHOUT PREPAYMENT OF

Vy FEES AND AFFIDAVIT
12 C 6063
Judge Virginia M. Kendall
| Defendant Magistrate Judge Maria Valdez
I, Kea DAReaus’S declare that I am the (check appropriate box)
petitioner/plaintiff/movant CX other

in the above-entitled proceeding; that in support of my request to proceed without prepayment of fees or costs
under 28 USC §1915 I declare that I am unable to pay the costs of these proceedings and that I am entitled to the relief
sought in the complaint/petition/motion.

In support of this application, I answer the following questions under penalty of perjury:

1.

Are you currently incarcerated? - Y [1 No (If “No,” go to Part 2)

es
If “Yes,” state the place of your incarceration VR Core. Cow-
Are you employed at the institution? _WC’ _ Do you receive any payment from the institution?

Attach a ledger sheet from the institution(s) of your incarceration showing at least the past six months’
transactions.

Are you currently employed? C1 Yes “Ao

a. Ifthe answeris “Yes,” state the amount of your take-home salary or wages and pay period and give the name
and address of your employer. | p

bh. Ifthe answer is “No,” state the date of your last employment, the amount of your take-home salary or wages
and pay period and the name and address of your last employer.

KP

In the past 12 twelve months have you received any money from any of the following sources?

a. Business, profession or other self-employment [1 Yes | No
b.. Rent payments, interest or dividends LI Yes No
c. Pensions, annuities or life insurance payments C) Yes No
d. Disability or workers compensation payments 11 Yes 0
e. Gifts or inheritances L} Yes No
f. Any other sources NO Yes [1 No

If the answer to any of the above is “Yes,” describe, on the following page, each source of money and state the
amount received and what you expect you will continue to receive. Cae *
 

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4. Do you have any cash or checking or savings accounts? C] Yes ‘yf No

If “Yes,” state the total amount.

 

5. Do you own any real estate, stocks, bonds, pecurities, other financial instruments, automobiles or any other
thing of value? LI Yes No

If “Yes,” describe the property and state its value.

6. List the persons who are dependent on you for support, state your relationship to each person and indicate
how much you contribute to their support. \\t

I declare under penalty of perjury that the above information is true and correct.

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NN”

Signature of Applicant

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ave
NOTICE TO PRISONER: A Prison

er seeking to proceed without prepayment of fees shall submit an affidavit
stating all assets. In addition, a prisoner must attach a statement certified by the appropriate institutional officer
showing all receipts, expenditures, and balances during the last six months in your institutional accounts. If you have
multiple accounts, perhaps because you have been in multiple institutions, attach one certified statement of each
account.

   
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UNITED STATES DISTRICT COURT .
CENTRAL DISTRICT OF ILLINOIS '

 

| EN 4 Dyneoqs

Plaintiff,

No.

vs.
(Supplied by Clerk)

Sou Q& oy f rN cAowlk

 

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Defendant(s)

PETITION AND AFFIDAVIT FOR LEAVE TO PROCEED
_WITHOUT PREPAYMENT OF FEES AND COSTS

I, Baegoo5 » Plaintiff, move the court for leave to proceed without
prepayment of fees and costs in the above action. I declare under penalty of perjury

that the following facts are true:

1. I am the party initiating this action and I believe I am entitled to redress.

2. I am unable to prepay the fees and costs of this proceeding, or to give security,

because of proverty.
~ .3. Tam (check one) Single | Married Separated Divorced

4. My responses to the following questions are true:
A. Are you presently employed in any capacity includin “paying position while
incarcerated as an inmate ina correctional center? Yes ( ) No

) :
B. If ‘so, by whom, what is your position, and what is your pay?

Vita
Woy
|
J / ' .
C. If not, when were you last employed and what was your pay?

inmate positions?

$
VU -
D. ee money from any other source, including judgments, in the last

 

This includes prior

6 months? Yes each source and state how much you received.

No ) If yes, ae
Maly Nod yy WM hock -

E. If you are presently in argeratesl, how much money do you have in = your
institutional trust fund account? Vr
O

oC

 

 

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Case: 1:12-cv-06063 Document #: 3 Filed: 08/01/12 Page 4 of 6 PageID #:13

CERTIFICATE
On

Cc

(Institution)

(Title) - ~ Lf
a

Burrows
BBAS77

 

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Date: 7/16/2012 Case: 1:12-cv-06063 Dang Gorreltforal Senter age 5 of 6 PagelD #:14
Time: ‘9:18am Trust Fund
Inmate Transaction Statement

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d_list_inmate_trans_statement_composite

REPORT CRITERIA - Date: 01/16/2012 thru End; = Inmate: B82577; Active Status Only ? : No; Print Restrictions ? : Yes;

 

 

Transaction Type: All Transaction Types; Print Furloughs / Restitutions ? : Yes; Include Inmate Totals ? : Yes; Print
Balance Errors Only ? : No
Inmate: B82577 Barrows, Henry Housing Unit: PON-N -05-29

Date Source Transaction Type Batch Reference # Description Amount Balance

Beginning Balance: 0.02

04/09/12 Mail Room 01 MO/Checks (Not Held) 1002100 R203391701304 Rogers, Shellie 50.00 50.02

04/09/12 Mail Room 01 MO/Checks (Not Held) 1002100 705351 Rogers, Shellie 50.00 100.02

04/13/12 Disbursements 81 Legal Postage 104394 Chk #83880 Pitney Bowes Bank, I, __ Inv. Date: -.64 99.38
12/23/2011

04/13/12 Disbursements 81 Legal Postage 104394 Chk #83880 Pitney Bowes Bank, |, __ Inv. Date: -2.70 96.68
02/01/2012

04/13/12 Disbursements 81 Legal Postage 104394 Chk #83880 Pitney Bowes Bank, I, _ Inv. Date: -.45 96.23
02/27/2012

04/13/12 Disbursements 81 Legal Postage 104394 Chk #83880 Pitney Bowes Bank, |, _ Inv. Date: -.45 95.78
03/13/2012

04/13/12 Disbursements 81 Legal Postage 104394 Chk #83880 Pitney Bowes Bank, |, __ Inv. Date: ~.45 95.33
04/03/2012

04/13/12 Disbursements 81 Legal Postage 104394 Chk #83880 Pitney Bowes Bank, |, __ Inv. Date: -.45 94.88
04/03/2012

04/13/12 Disbursements 81 Legal Postage 104394 Chk #83880 Pitney Bowes Bank, |, _ Inv. Date: -.45 94.43
04/12/2012

04/17/12 Point of Sale 60 Commissary 108797 381231 Commissary -21.39 73.04

04/18/12 Disbursements 84 Library 109394 Chk #83936 DOC: 523 Fund Librar, Inv. Date: -.15 72.89
01/05/2012

04/18/12 Disbursements 84 Library 109394 Chk #83936 DOC: 523 Fund Librar, Inv. Date: ~.10 72.79
01/18/2012

04/18/12 Disbursements 84 Library 109394 Chk #83936 DOC: 523 Fund Librar, Inv. Date: ~.55 72.24
01/19/2012

04/18/12 Disbursements 84 Library 109394 Chk #83936 DOC: 523 Fund Librar, Inv. Date: -.60 71.64
01/30/2012

04/18/12 Disbursements 84 Library 109394 Chk #83936 DOC: 523 Fund Librar, Inv. Date: -.75 70.89
04/05/2012

04/18/12 AP Correction 84 Library 109594 Chk #83936 Voided DOC: 523 Fund Library 15 71.04

04/18/12 AP Correction 84 Library 109594 Chk #83936 Voided DOC: 523 Fund Library .10 71.14

04/18/12 AP Correction 84 Library 109594 Chk #83936 Voided DOC: 523 Fund Library 55 71.69

04/18/12 AP Correction 84 Library 109594 Chk #83936 Voided DOC: 523 Fund Library 60 72.29

04/18/12 AP Correction 84 Library 109594 Chk #83936 Voided DOC: 523 Fund Library 75 73.04

04/18/12 Disbursements 84 Library 109394 Chk #83937 DOC: 523 Fund Librar, _Inv. Date: ~.15 72.89
01/05/2012

04/18/12 Disbursements 84 Library 109394 Chk #83937 DOC: 523 Fund Librar, Inv. Date: -.10 72.79
01/18/2012

04/18/12 Disbursements 84 Library 109394 Chk #83937 DOC: 523 Fund Librar, __ Inv. Date: ~.55 72.24
01/19/2012

04/18/12 Disbursements 84 Library 109394 Chk #83937 DOC: 523 Fund Librar, Inv. Date: -.60 71.64
01/30/2012

04/18/12 Disbursements 84 Library 109394 Chk #83937 DOC: 523 Fund Librar, __ Inv. Date: -.75 70.89
04/05/2012

04/18/12 Disbursements 81 Legal Postage 109394 Chk #83941 Pitney Bowes Bank, |, _ Inv. Date: ~1.50 69.39
04/16/2012

04/27/12 Mail Room 01 MO/Checks (Not Held) 1182100 19875338460 Bell, Jerry 50.00 119.39

05/02/12 Disbursements 88 pen pal list 123394 Chk #84233 05/02/2012, Non-Stop, Inv. Date: -50.00 69.39
05/02/2012

05/03/12 Disbursements 88 pen pal list 124394 Chk #84293 05/03/2012, Chi-Ey,, Inv. Date: -6.95 62.44
05/03/2012

05/11/12 Disbursements 81 Legal Postage 132394 Chk #84381 Pitney Bowes Bank, |, __ Inv. Date: ~.45 61.99
04/30/2012

05/18/12 Disbursements 84 Library 139394 Chk #84438 DOC: 523 Fund Librar, Inv. Date: -.15 61.84
04/25/2012

05/23/12 Point of Sale 60 Commissary 1447105 384234 Commissary -29.70 32.14

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Date: 7/16/2012 Case: 1:12-cv-06063 Dapynttaé €orrdeiohal Céhterage 6 of 6 PagelD #:15 Page 2

Time: 9:18am Trust Fund

d_list_inmate_trans_statement_composite Inmate Transaction Statement

REPORT CRITERIA - Date: 01/16/2012 thruEnd; Inmate: B82577: Active Status Only ? : No; Print Restrictions ? : Yes;

 

 

 

 

 

 

 

Transaction Type: All Transaction Types; Print Furloughs / Restitutions ? : Yes; Include Inmate Totals ? : Yes; Print
Balance Errors Only ? : No
Inmate: B82577 Barrows, Henry Housing Unit: PON-N -05-29
Date Source Transaction Type Batch Reference # Description Amount Balance
05/31/12 Disbursements 88 Photos 162394 Chk #84536 05/31/12, Fl, LLC, Inv. Date: -11.99 20.15
05/31/2012
06/01/12 Disbursements 80 Postage 153394 Chk #84620 Pitney Bowes Bank, I, __ Inv. Date: ~.90 19.25
05/18/2012
06/01/12 Disbursements 80 Postage 153394 Chk #84620 Pitney Bowes Bank, |, __ Inv. Date: ~.45 18.80
05/18/2012
06/01/12 Disbursements 80 Postage 153394 Chk #84620 Pitney Bowes Bank, |, __ Inv. Date: -2.00 16.80
05/22/2012
06/01/12 Disbursements 81 Legal Postage 153394 Chk #84620 Pitney Bowes Bank, |, Inv. Date: -.45 16.35
05/23/2012
06/08/12 Disbursements 81 Legal Postage 160394 Chk #84820 Pitney Bowes Bank, |, __ Inv. Date: ~.45 15.90
06/06/2012
06/08/12 Disbursements 80 Postage 160394 Chk #84820 Pitney Bowes Bank, I, _ Inv. Date: -1.05 14.85
06/06/2012
06/15/12 Disbursements 84 Library 167394 Chk #84955 DOC - Library Copies, Inv. Date: -.05 14.80
06/06/2012
06/15/12 Disbursements 83 Copies 167394 Chk #84956 DOC: 523 Fund Reimbu, Inv. Date: -13.95 85
05/18/2012
06/21/12 AP Correction 88 Photos 173594 Chk #84536 Voided 05/31/12 - Fl, LLC 11.99 12.84
06/22/12 Disbursements 81 Legal Postage 174394 Chk #84982 Pitney Bowes Bank, I, __ Inv. Date: -2.10 10.74
06/11/2012
06/27/12 Point of Sale 60 Commissary 1797106 386714 Commissary -8.72 2.02
Total Inmate Funds: 2.02
Less Funds Held For Orders: .00
Less Funds Restricted: 4.90
Funds Available: -2.88
Total Furloughs: .00
Total Voluntary Restitutions: .00
RESTRICTIONS
Invoice Date Invoice Number Type Description Vendor Amount
06/11/2012 Disb Library 2 DOC: 523 Fund Library $1.95
07/09/2012 Disb Legal Postage 6967 Pitney Bowes Bank, Inc. $0.85
07/11/2012 Disb Library 2 DOC: 523 Fund Library $0.85
07/11/2012 Disb Library 2 DOC: 523 Fund Library $0.15
07/13/2012 Disb Legal Postage 6967 Pitney Bowes Bank, inc. $1.10

$4.90

Total Restrictions:

 

 

 
